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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

   GLOBAL EQUITY MANAGEMENT (SA)
   PTY. LTD.,
                                          CIVIL ACTION NO. 2:16-cv-00095-RWS
               Plaintiff,                 (Consolidated Lead Case)

         v.
                                                 JURY TRIAL DEMANDED
   EXPEDIA, INC., ET AL.,

               Defendant.

              DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF
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   I.     INTRODUCTION

          Plaintiff Global Equity Management (SA) Pty. Ltd. (“GEMSA”) asserts U.S. Patent Nos.

   6,690,400 (“the ’400 patent”) and 7,356,677 (“the ’677 patent”) against Defendants. The ’400

   patent claims a graphical user interface (“GUI”) for displaying means for allocating a computer

   device’s resources to multiple [or at least one] operating system. Exh. A1 at 8:63-65; 9:67-10:1.

   The ’677 patent claims so-called “rapid switching between multiple operating system

   environments on a single computer.” Exh. B at Abstract. Defendants’ proposed constructions

   define the claim scope as reflected in the intrinsic record, and consistent with the alleged

   inventions. GEMSA either offers no construction (merely asserting “ordinary meaning”), or

   offers constructions that impermissibly seek to broaden the claims to avoid narrowed features

   GEMSA convinced the Patent Office during prosecution made the asserted claims patentable.

   This Court should adopt all of Defendants’ proposals.

   II.    LEGAL STANDARDS

          Courts must consider “what was invented, and what exactly was claimed” when

   construing claims. MySpace, Inc. v. GraphOn Corp., 672 F.3d 1250, 1256 (Fed. Cir. 2012).

   “When the parties present a fundamental dispute regarding the scope of a claim term, it is the

   court’s duty to resolve it.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351,

   1362 (Fed. Cir. 2008). A patentee may claim a means for performing a function without reciting

   any structure for performing the function in the claim. See 35 U.S.C. § 112, ¶ 6. But means-

   plus-function elements are limited to the structure in the specification that performs the function.

   Noah Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1311 (Fed. Cir. 2012). Computer-implemented




   1
    All exhibits are attached to the Declaration of Bryan J. Sinclair ISO Defendants’ Responsive
   Claim Construction Brief, filed herewith.

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   means-plus-functions limitations “must disclose an algorithm” in their corresponding

   specifications to meet the definiteness requirements of § 112, ¶ 2.2 Augme Techs., Inc. v. Yahoo!

   Inc., 755 F.3d 1326, 1337 (Fed. Cir. 2014).

   III.   ANALYSIS

          A.      The ’400 Patent

          The ’400 patent is titled “Graphical User Interface for Resources Management for Super

   Operating System Based Computers.” It is aimed at computer systems that are capable of

   running multiple operating systems (“OS”). Exh. A at 1:31-34. Particularly, the “invention

   enables such computers to allocate computer resources graphically to one or more operating

   systems.” Id. at 1:40-42. In such systems, each OS must be restricted from overwriting the data

   and programs associated with other OSs. See id. at 2:6-11. To do so, the ’400 patent proposes

   that, to prevent one OS from interfering with the data and programs of another, a user may

   allocate physical computer resources to different OSs in “virtual cabinets” or just “cabinets.” Id.

   at 2:47-52; 5:22-24. The ’400 patent claims the ability to associate physical disk partitions with

   a particular cabinet and OS, which, in turn, isolates and protects each OS and its related

   programs and data. Id. at 3:33-43. Put simply, the claimed invention enables a user to allocate,

   configure and manipulate disk partitions and assign them to cabinets associated with different

   OSs such that the resources of these OSs do not overlap or interfere with each other.

          The claims of the ’400 patent recite several means-plus-function terms that require means


   2
     In its Docket Control Order, the Court ordered “[i]n lieu of early motions for summary
   judgment, the parties are directed to include any arguments related to the issue of indefiniteness
   in their Markman briefing.” Dkt. 37 at 4. GEMSA, however, failed to address indefiniteness in
   its opening brief and even stated that indefiniteness is not appropriately addressed at claim
   construction. Dkt. 169 at 3-4. By ignoring this Court’s Order, GEMSA has waived the
   opportunity to brief indefiniteness. Should GEMSA impermissibly attempt to do so in reply,
   Defendants will seek leave to address GEMSA’s arguments in the form of a surreply.

                                                   2
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   for performing functions such as “allocating a computer device’s resources… ,” “configuring

   said at least one partition … ,” “manipulating said at least one cabinet record … ,” and

   “modifying said at least one cabinet record … .” For the claims to be definite under 35 U.S.C. §

   112, ¶2 and thus valid, the ’400 patent specification must disclose structures (e.g., algorithms) to

   fully perform each of the recited functions. GEMSA’s expert agrees that the specification does

   not describe such structures. See Exh. C at 16:18-22 (“I see the disclosure in this patent and

   essentially the whole invention around the graphical user interface and not so much as the

   technical details of how virtualization is accomplished.”).

             Notwithstanding this failure, GEMSA argues that structure for performing these recited

   functions is unnecessary and that the claims are definite because the specification describes

   graphical user interface elements that allow a user to initiate the performance of the recited

   functions. GEMSA and its expert cannot be correct, as such an interpretation means the ’400

   patent claims are directed solely to graphical user interface elements (i.e., pictures and icons) and

   nothing more, and are plainly unpatentable under the printed matter doctrine. In re Distefano,

   808 F.3d 845, 850 (Fed. Cir. 2015); In re Russell, 48 F.2d 668, 669 (CCPA 1931) (“The mere

   arrangement of printed matter on a sheet or sheets of paper … does not constitute ‘any new and

   useful art…’”). If Defendants are correct, the claims of the ’400 patent are indefinite.

                    1.      Term 1: means for allocating a computer device’s resources . . . on
                            said computer device.3

             The preamble of claim 1 requires “a graphic user interface for displaying means for

   allocating a computer device’s resources to multiple operating system environments, partitioned




   3
       The parties’ proposed constructions are set forth in Exhibit D.

                                                      3
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   on individual virtual cabinets, on said computer device.”4 Exh. A at 8:62-65. That of claim 16 is

   similar. Both are means-plus-function elements for which there is no corresponding structure.

          A preamble that “states the framework of the invention,” is limiting.         On Demand

   Machine, Corp. v. Ingram, Indus., Inc., 442 F.3d 1331, 1343 (Fed. Cir. 2006). Here, the

   preamble of claim 1 recites the framework of the invention: a graphical user interface

   purportedly allowing virtualization of a computer system by providing access to means for

   allocating the storage resources of that computer system to operating systems partitioned on

   virtual cabinets. See Exh. A at 8:62-66. Indeed, the specification proclaims the “cornerstone” of

   the invention as “system virtualization” where “physical devices” of a given computer are

   partitioned such that multiple virtual cabinets are configured and each cabinet contains a separate

   operating system. Exh. A at 1:57-61; Poly-Am., L.P. v. GSE Lining Tech., Inc., 383 F.3d 1303,

   1310 (Fed. Cir. 2004) (preamble was limiting where it disclosed a “fundamental characteristic of

   the claimed invention.”). Applicant emphasized during prosecution that the “cornerstone” of the

   claimed invention is “system virtualization within cabinets,” and confirmed that the preamble is

   limiting by amending it to overcome an examiner’s rejection. Exh. E at 10. Reliance on the

   preamble “to distinguish the claimed invention from the prior art” renders the preamble a claim

   limitation. See Rotatable Techs., LLC v. Motorola Mobility, LLC, 567 Fed.Appx. 941, 943 (Fed.

   Cir. 2014); see also Catalina Mktg. Int’l Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed.

   Cir. 2002). Additionally, the preamble of claim 16, which was added at the same time as the

   Applicant amended the preamble of claim 1 to overcome the rejection, recites the same

   “cornerstone” of the invention and also provides an antecedent basis for the term “computer.”



   4
     Defendants no longer seek construction of the preamble phrase “graphic user interface,” but
   only seek construction of the means-plus-function limitations contained therein.

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   Accordingly, it is also a claim limitation.5 On Demand Mach., 442 F.3d at 1343; Catalina Mktg.

   Int’l, 289 F.3d at 808.

          Defendants identify the function as “allocating a computer device’s resources to multiple

   operating system environments, partitioned on individual virtual cabinets, on said computer

   device” and note that there is no corresponding structure. Exh. D at 1. GEMSA contends that,

   because the graphical user interface “act[s] as [a] means of displaying for the purpose of

   allocating” it is the structure that performs the functions claimed in the preambles. Dkt. 169 at 6.

   But the claimed function is not “displaying for the purpose of allocating” but it is “allocating a

   computer device’s resources . . . .” As GEMSA admits, an interface displays information; it does

   not allocate computer resources, let alone constitutes an algorithm for doing so. Id. at 6. Indeed,

   GEMSA does not attempt to identify any algorithm required to “allocat[e] a computer device’s

   resources to multiple operating system environments.” 6

          As the patent generically explains, allocating computer resources to one or more OSs

   requires altering the address boundaries of the physical devices and memory at the firmware


   5
     Consistent with the preamble of claim 16, the specification repeatedly describes the invention
   as virtualization of computer resources through the allocation of hardware resources using a
   graphical user interface. Exh. A, at Abstract, 3:30-35, 3:57-58. When “the specification is
   replete with references” to the phrase in the preamble and reveals that the preamble “discloses a
   fundamental characteristic of the claimed invention,”—as each preamble does here—the
   preamble is necessarily limiting. Poly-Am., L.P., 383 F.3d at 1310.
   6
      Neither the ’677 patent nor the ’183 patent can provide structure to support the recited means
   of the’400 patent claims. First, the ’677 patent was filed after the ’400 patent, so it is irrelevant.
   Second, although the ’400 patent refers to the ’183 patent as “related,” the ’183 patent is not
   actually incorporated by reference into the ’400 patent. MPEP 7th Ed, § 608.01(p) (1999)
   (“Mere reference to another application, patent, or publication is not an incorporation of anything
   therein into the application containing such reference for the purposes of the disclosure required
   by 35 U.S.C. § 112, first paragraph.”). Material not incorporated by reference cannot provide
   corresponding structure for a means plus function clause, nor can testimony from an expert.
   Default Proof Credit Card Sys., Inc. v. Home Depot U.S.A., Inc., 412 F.3d 1291, 1302 (Fed. Cir.
   2005) (“the testimony of one of ordinary skill in the art cannot supplant the total absence of
   structure from the specification”).

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   level. Exh. A at 3:33-35. Displaying a picture or icon on a computer screen neither virtualizes

   computer hardware nor changes the mapping of physical device address boundaries. An icon

   may identify a command for initiating the allocation of a computer device’s resources, but more

   is required for actual allocation of these resources than merely a GUI icon. Thus, even if GUI

   icons can be considered structure, these icons are not themselves sufficient structure to perform

   the claimed function. As no other structure is described, the preambles are indefinite.

                  2.      Term 2: means/program code for configuring . . .

          Claim 16 requires “means for configuring said at least one partition of said at least one

   secondary storage device through said secondary storage partitions window.” Exh. A at 10:7-9;

   11:8-10. This “means for” term is governed by 35 U.S.C. § 112, ¶ 6; GEMSA does not argue

   otherwise. Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1348-49 (Fed. Cir. 2015); Dkt. 169

   at 18-19.   Claim 28 requires “program code for” performing the identical function. 7 The

   function of “configuring . . . ” does not itself disclosure structure to one of ordinary skill in the

   art. Exh. F at ¶¶ 58-59. This term, like the corresponding functional limitations in claim 16, is

   governed by 35 U.S.C. § 112, ¶ 6 because “program code,” like “means,” is a generic term,

   referring to generic software, and does not describe any specific structure. Williamson, 792 F.3d

   at 1349; Exh. F at ¶ 54. Defendants propose that the function is: “configuring said at least one

   partition of said at least one secondary storage device through said secondary storage partitions

   window” and explain that there is no corresponding structure. Exh. D at 1.

          GEMSA relies on Smartflash, LLC v. Apple, Inc., 77 F.Supp.3d 535 (E.D. Tex. 2014) to


   7
    Several elements of claim 28 recite “program code for . . . ” functions that are identical to the
   means-plus-function limitations in claim 16. Compare Exh. A at 11:8-10 (“program code for
   configuring said at least one partition of said at least one secondary storage device through a
   secondary storage partitions window”) with 10:7-9 (“means for [the identical function]”);
   compare id. at 11:24-25 with 10:18-19; compare id. at 11:27-29 with 10:24-25.

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   contend that “program code” by itself is a recitation of structure. See Dkt. 169 at 17. First,

   GEMSA ignores that Smartflash was decided before the Federal Circuit’s decision in

   Williamson. In fact, the defendants in Smartflash moved the court to reconsider its constructions

   in light of the Williamson decision and the court found the term “code” to refer to structure “in

   the present context” only because the defendants had submitted expert declarations in a

   companion case opining that “code” recited “a particular type of structure” in the context of the

   patent at issue in that case. Smartflash LLC v. Apple Inc., No. 6:13-CV-447, 2015 WL 4208754,

   at *3 (E.D. Tex. July 7, 2015). The opposite is true here. Defendants’ expert has unequivocally

   stated that in the context of the ’400 patent, “program code” is not understood to have a definite

   meaning of any particular structure. See Exh. F at ¶ 54. And GEMSA’s expert does not opine

   otherwise, but merely states he was “informed by counsel that phrases like ‘program code’ have

   been found by the [c]ourts to connote sufficient structure.” See Exh. G at ¶ 77; Exh. C at 100:7-

   101:8.

            Second, the claim 28 limitations recite “program code for” a given function and neither

   the specification nor the claims “describ[e] how the [‘code’] operates within the claimed

   invention to achieve its objectives.” See Uniloc USA, Inc. v. Autodesk, Inc., Civ. No. 2:15-cv-

   1187-JRG-RSP (E.D. Tex. July 7, 2016). Instead, the patent only recites generic “program

   code,” i.e. software, which has no definite structure. Advanced Ground Info. Sys., Inc. v.

   Life360, Inc., 830 F.3d 1341 at 1348 (Fed. Cir. 2016) (finding that “symbol generator” is a

   means-plus-function term because it does not identify a structure and the claims fail to connote a

   “definite structure.”). Given there is no structure for the recited functions in the claims, and the

   functions themselves are too generic to constitute definite structure, the “program code”

   limitations in claim 28 should be interpreted as means-plus-function limitations.             Thus,



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   Defendants analyze claims 16 and 28 (and all other “means for”/“program code for”) limitations

   together.8

           Claim 16 and 28 both claim the function: “configuring said at least one partition of said at

   least one secondary storage device through said secondary storage partitions window.” GEMSA

   does not dispute Defendants’ identification of the function. GEMSA contends that the structure

   in claim 16 for performing this function is “a pointing device such as a mouse, keyboard,

   program code or the like.” Dkt. 169 at 18. First, program code is not “a pointing device.” It is

   software and not hardware. Second, GEMSA’s expert states that the function of these terms is

   “to configure, or change, memory partitions or data.” Exh. G at ¶ 36. A mouse or keyboard

   cannot change memory partitions or data. At most, they can operate to point, select, or

   manipulate pictures, icons or text on a computer screen. Other algorithms, undisclosed in the

   ’400 patent, must be performed by the computer in order to manipulate memory partitions and

   data. And “program code” does not connote a definite structure (i.e., algorithm) for changing

   memory partitions or data—it is generic software and fails to disclose an algorithm, either in the

   claim limitation or the specification, for performing the claimed function. GEMSA identifies

   nothing else as alleged structure. See Exh. F at ¶¶ 41-44; Exh. C at 81:9-87:1. The terms are

   indefinite.

                  3.      Term 3: means/program code for manipulating . . .

           Claim 16 requires “means for manipulating said . . . cabinet record through said cabinet

   visible partition window.” This “means for” term is governed by 35 U.S.C. § 112, ¶ 6; GEMSA



   8
     To simplify the issues for the Court, Defendants no longer seek construction of the terms
   “program code for accessing and displaying . . . ,” “program code for displaying a cabinet
   selection button bar,” and “program code for displaying . . . said selected virtual cabinet,” from
   claim 28 of the ’400 patent.

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   does not argue that § 112, ¶ 6 does not apply.         GEMSA’s construction uses Defendants’

   identification of the term’s function (“manipulating said at least one cabinet record through said

   cabinet visible partition window.”). Dkt. 169 at 17. Claim 28 requires “program code for”

   performing the same function. The recited “manipulating” function does not disclosure structure

   to one of ordinary skill in the art. Exh. F at ¶¶ 70-71. As described above “program code” is no

   different than “means” and this term is also governed by 35 U.S.C. § 112, ¶ 6 (EON Corp. IP

   Holdings, 785 F.3d at 621), and because it recites the same function as claim 16’s “means for

   manipulating” term in claim 16, the structure for both terms must be the same.

          Defendants state that there is no corresponding structure. Exh. D at 1-2. GEMSA’s

   expert contends that the claimed function includes “configur[ing], or chang[ing], memory

   partitions or data,” i.e. the same function as the one performed by the “means for configuring.”

   Exh. G at ¶ 42. Yet, GEMSA identifies a different structure for performing the same function

   identified for the claimed “manipulating:” “menus, menu bars, pull-down menus, link buttons,

   hot keys, function keys, command lines and program code and the like.” Dkt. 169 at 17.

   Standard GUI elements such as menus, menu bars and command lines and standard keyboard

   features such as hot and function keys cannot themselves change memory partitions or data—

   they merely allow a user to select pictures or type text displayed on a computer screen that, at

   best, can be used to initiate the performance of such functions. Indeed, the specification explains

   that “manipulating cabinets” comprises adding, deleting and configuring partitions (i.e. storage),

   as well as “defining user access,” “defining remote management functions” and “booting the

   cabinet.” Exh. A at 5:30-35.

          Second, standard GUI elements and keyboard functions are not “program code” (even if

   they may be represented to the user through the execution of program code). Generic “program



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   code,” without an express disclosure of the steps that are executed by the code does not connote

   a structure sufficient to render the terms definite; instead, either the claims or the specification

   must describe an algorithm for changing memory partitions.9 Exh. F at ¶¶ 54, 58, 62, 66, 69, 74.

   And GEMSA agrees that there is none. See Exh. C at 43:18-44:24; 91:12-92:13, 94:4-14. The

   terms are indefinite.

                  4.       Term 4: means/program code for modifying. . .

          Claim 16 requires “means for modifying said at least one cabinet record through said

   cabinet visible partition window.” Claim 28 requires “program code” for performing the same

   function. Defendants proposed function is: “modifying said at least one cabinet record through

   said cabinet visible partition window” and that there is no corresponding structure. Exh. D at 2.

          The recited function of “modifying …” does not itself disclosure structure to one of

   ordinary skill in the art. Exh. F at ¶¶ 51-52, 74-75. Thus, both “means for” and “program code

   for” claims are governed by 35 U.S.C. § 112, ¶ 6. EON Corp. IP Holdings, 785 F.3d at 621.

   The specification equates a “cabinet record” with a “cabinet” (Exh. A at 2:47) and states that “a

   cabinet is defined herein as a virtual storage device, capable of containing, typically through the

   use of virtual table of content pointers, all (or partitions of) shared (or non-shared) operating

   systems, application software (both OS dependent and No-OS embedded), databases and

   memory.” Id. at 2:47-52. The specification does not describe how the claimed modification of

   the cabinet record, i.e. a virtual storage device, is accomplished.

          GEMSA’s expert states that the “modifying” function is the same as the “means for

   manipulating” and “means for configuring” functions, i.e., “configur[ing], or chang[ing],


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     When the specification fails to disclose any corresponding structure for a recited means-plus-
   function limitation, this failure cannot be cured by the knowledge of one of ordinary skill in the
   art. Default Proof Credit Card Sys., Inc., 412 F.3d at 1302.

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   memory partitions or data.” Exh. G at ¶ 48; see also Exh. C at 96:17-97:4. GEMSA, again,

   contends that a structure performing this function is “a pointing device such as a mouse,

   keyboard, program code or the like.” Exh. G at ¶ 49. But hardware devices are not software;

   neither can change memory partitions. And generic program code, without a specific algorithm,

   is not sufficient structure for changing memory partitions or “modifying said at least one cabinet

   record through said cabinet visible partition window.” Id. As nothing more exists in the claim

   or specification regarding this function, the terms are indefinite.

                  5.      Term 5: cabinet selection button bar

          Defendants propose that this term means “a row of user selectable graphical icons, each

   representing a virtual cabinet.” Exh. D at 2. GEMSA’s discussion of this phrase is unhelpful

   and proposes three distinct possibilities: (1) no construction; (2) plain and ordinary meaning; or

   (3) “a graphical menu bar representing more than one virtual cabinet.” Dkt. 169 at 15. GEMSA

   argues that “Expedia has not shown these words to have specific technical meanings in the ‘’

   [sic] 400 Patent’s field.” Id. “Cabinet selection button bar” is not a term of art, nor is it a term

   that would be familiar to a jury. See Funai Elec. Co., Ltd. v. Daewoo Elecs. Corp., 616 F.3d

   1357, 1366 (Fed. Cir. 2010). Construction would thus assist the jury.

          The ’400 patent and its file history depict a “cabinet selection button” at item 70 (of

   Figure 1) as a row of user selectable graphical icons that each represents a virtual cabinet—

   consistent with Defendants’ proposed construction. Moreover, when distinguishing prior art

   during prosecution of the ’400 patent, the applicants emphasized that their invention depicted the

   individual cabinets “visually” with “icons.” See Exh. E at 11-12. This alleged point of novelty

   supports defendants’ proposed construction.

          While GEMSA’s third option at least seeks to explain what this term means, it is less

   clear than Defendants’ proposal because GEMSA is silent as to what aspect of the bar represents

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   the multiple cabinets.

                  6.        Term 6: virtual cabinet[s]/virtual cabinet record/cabinet record

          The terms “virtual cabinet[s],” “virtual cabinet record,” and “cabinet record” are not

   terms of art. Defendants propose that they mean: “virtual storage device capable of containing

   all (or partitions of) shared (or non-shared) operating systems, application software (both OS

   dependent and No-OS embedded), databases and memory.” Exh D at 3. The ’400 patent states:

          For the purposes of this invention and disclosure, the terms “Virtual Cabinet”,
          “Cabinet Record” and “cabinet” are synonymous. A cabinet is defined herein as
          a virtual storage device capable of containing, typically through the use of virtual
          table of content pointers, all (or partitions of) shared (or non-shared) operating
          systems, application software (both OS dependent and No-OS embedded),
          databases and memory.

   Exh. A at 5:22-29 (emphasis added); see also 2:46-47.              Defendants’ proposed

   construction is consistent with this express definition, merely clarifying it by removing

   some of its non-limiting definitional language.

          GEMSA’s construction is not helpful. GEMSA objects to use of the word

   “virtual” in Defendants’ construction for being found in the claim term while doing the

   same thing for “virtualized software.” GEMSA also omits part of the express definition

   in the ’400 patent, i.e., that the virtual storage device contains “all (or partitions of)

   shared (or non-shared) operating systems, application software (both OS dependent and

   No-OS embedded), databases and memory.” Id. at 5:23-29 (emphasis added).

                  7.        Term 7: secondary storage device/secondary storage

          Unlike many claim terms of the ’400 patent, “secondary storage” is understood in the

   field of computing as computer storage other than RAM.            Indeed, Microsoft’s Computer

   Dictionary defines “storage device” as follows:

          Storage device: “An apparatus for recording computer data in permanent or
          semipermanent form. When a distinction is made between primary (main)

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          storage devices and secondary (auxiliary) storage devices, the former refers to
          random access memory (RAM) and the latter refers to disk drives and other
          external devices.”

   Exh. H at 424 (emphasis added). This definition is consistent with the ’400 patent itself, which

   does not require that the secondary storage be separate from the computer device. Indeed, the

   ’400 patent discloses that “secondary storage devices [are] found in the computer system.” Exh.

   A at 7:7-10. Defendants’ proposed construction (“hardware storage device other than random

   access memory”), which covers a situation where secondary storage devices are within the

   computer displaying the user interface, is consistent with the ordinary and customary definition.

   Exh. D at 3.

          GEMSA’s construction, which requires the secondary storage be separate from the

   computer running the claimed user interface, improperly excludes a preferred embodiment.

   GEMSA attempts to justify this exclusion by citing to U.S. Patent No. 6,401,183 (“’183 patent”)

   to “note[] that secondary storage devices are ‘separate’ and ‘independent,’” and that such devices

   are “attached to the computer device.” Dkt. 169 at 7-8, n. 36-37. However, GEMSA offers no

   explanation of how these assertions support its construction. For example, a computer hard disk

   would generally be considered a “secondary storage device,” and is frequently contained within a

   computer device running a user interface. This common situation, described in the ’400 patent’s

   preferred embodiments, would fall outside the scope of GEMSA’s construction.             Because

   GEMSA offers no description of what “separate from the computer device” means, its

   construction is unhelpful.

                  8.     Term 8: secondary storage partitions window

          “Secondary storage partitions window” is not a term of art. However, the ’400 patent

   expressly defines this term as item 80 in Figure 1, noting, “[t]he contents of the all secondary

   storage devices found in the computer system are depicted in Secondary Storage Partitions

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   Window 80 as Secondary Storage Icon 180 and Secondary Storage Text Descriptor 186.” Exh.

   A at 7:7-9 (emphasis added). Defendants’ proposal (“a window in the GUI depicting the

   contents of the all secondary storage devices found in the computer system”) adopts this term as

   coined in the ’400 specification.

          GEMSA contends that Defendants’ construction is circular, while claiming that

   “GEMSA’s construction is consistent with the intrinsic evidence.” Dkt. 169 at 9. For support,

   GEMSA relies on extrinsic evidence, not intrinsic evidence, the most important of which is the

   definition at 7:7-9 of the ’400 patent (referring to Fig. 1, item 80). GEMSA’s citations to the

   ’400 patent and ’183 patent do nothing to define a “secondary storage partitions window” other

   than to indicate it may be attached to a computer device, and it only cites Dr. Rosenberg’s

   declaration “generally.” Id. at 9, n. 43. None of these citations offer insight into the meaning of

   this term, or support GEMSA’s assertion that the secondary storage is “separate” from the

   computer running the claimed GUI.        Thus, GEMSA’s construction has no support in the

   specification, and, in fact, deviates from it by omitting the requirement that the “secondary

   storage partitions window” depict the contents of all secondary storage devices.

                  9.      Term 9: cabinet visible partition window

          Defendants’ proposed construction (“a window in the GUI showing all of the contents of

   a selected cabinet”) follows from the claim language as well as the ’400 patent’s written

   description. Exh. D at 3. The phrase “cabinet visible partition window” is recited in each

   independent claim. See Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir.

   1996) (“First, we look to the words of the claims themselves, both asserted and nonasserted, to

   define the scope of the patented invention.”). Each time, the claim requires that the “cabinet

   visible partition window” illustrates the contents, namely the “operating system plus application

   software, databases and memory” of the “selected virtual cabinet record.” See, Exh. A at claims

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   1, 16, 28; Fig. 1 at 90; and 7:1-32.

          On the other hand, GEMSA’s proposed construction is unduly broad by not including the

   requirements that the disputed claim language requires (1) “all” of the contents, and (2) of a

   “selected” cabinet.    Although GEMSA criticizes Defendants’ construction, it provides no

   explanation why it believes its own construction is correct. GEMSA cites the patent’s written

   description, and cites “generally” to Dr. Rosenberg’s testimony (Dkt. 169 at 14, n. 61, n. 62), but

   nothing in GEMSA’s citations would support a broader claim construction that does not require

   that the window show “all” of the contents of a “selected” cabinet as set forth by the claim

   language itself. See, Exh. A at claims 1, 16, 28; Fig. 1 at 90; and 7:1-32. For example, GEMSA

   cites to the discussion of a “Master Cabinet Visible Partition Window” as “depict[ing] all

   cabinets, both selected (active) and non-selected (inactive), booted and non-booted.” Dkt. 169 at

   14; see Exh. A at 7:30-32). But this ignores the remainder of the plain language of the claims,

   which specifies the contents of the “cabinet visible partition window,” and clarifies its reference

   to the “Active Selected Cabinet Visible Partition Window.”

                  10.     Term 10: partition

          Defendants rely on the asserted patent specifications and propose that this term means: “a

   stable and rigid portion of a secondary storage device that is logically distinct from other

   portions based on firmware-level address boundaries of the storage device.” Exh. D at 3.

   GEMSA relies on a description of “partitions” in the ’183 patent, elevating that description over

   the ’400 and ’677 patents and ignoring what they say. The ’400 patent expressly states that

   partitions “need to be set up as stable and rigid partitions or mappings so that the operating

   systems do not mix, intermingle, call on each other, or exchange data, unless the user desires

   such exchange.” Dkt. 169 at 13 (citing ’400 patent at 1:61-65). Yet, GEMSA argues that these

   are optional characteristics that are not necessarily true of every “partition.” Id. But “partition”

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   is not being construed in a vacuum. Rather, the Court must consider both the surrounding claim

   language and the specification. Phillips v. AWH Corp., 415 F.3d 1303, 1315 (Fed. Cir. 2005).

   “Partitions” are consistently described in the patents as “stable and rigid” to prevent different

   operating systems from accessing the same data, which can lead to instability in the overall

   system. Exh. A at 1:61-65, 2:1-11; Exh. B at 8:4-14, 8:28-33, 8:65-9:6. The Court’s

   construction of “partition” should reflect this description.

          GEMSA’s reliance on the ’183 specification also contradicts its arguments. For example,

   GEMSA objects to the “logically distinct” and “secondary storage device” aspects of

   Defendants’ construction, but cites to the ’183 patent’s description of a “partition” as a “distinct

   segment of physical secondary storage.” Dkt. 169 at 12 (citing ’183 patent at 5:20-22)

   (emphasis added). This description supports Defendants’ proposed construction by making clear

   that partitions are “distinct”—which in computer terminology is essentially the same as

   “logically distinct”—segments of “secondary storage.”.

          GEMSA also argues that because the ’400 patent describes that address boundaries “can

   be” implemented at the firmware level, they do not have to be implemented in that way. Id. at

   12-13. This argument ignores the ’400 patent’s description that the alleged invention, “at its

   firmware level, enables a user to define and alter the address boundaries of the physical devices

   and memory.” Exh. A at 3:33-35. The statement GEMSA relies on relates to the advantages that

   such firmware-level implementation provides—namely, that it allows all address access requests,

   regardless of origin, to be subject to the firmware-defined boundaries. Id. at 3:39-44.

   Defendants’ proposal to limit this term to firmware-level address boundaries is consistent with

   the specification.




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          B.      The ’677 Patent

                  1.      Term 11: means for selecting . . . / selection means . . .

          These claim terms, which are similar in scope are presumptively means-plus-function

   terms because they contain the phrase “means for.” Williamson, 792 F.3d at 1348. The claim

   terms themselves lack structure for performing the claimed function, so the presumption is not

   overcome. Id. Construction of these terms therefore involves (1) determining the claimed

   function and (2) “identify[ing] the corresponding structure in the written description of the patent

   that performs the function.” Noah, 675 F.3d at 1311.

          As Defendants propose, the claimed functions are “sequentially choosing from among

   said plurality of operating systems” or “selecting one of said virtual computer systems to become

   next operable before suspending a currently operational virtual computer system.” Exh. D at 3-

   4. One of ordinary skill in the art would understand that these functions “cannot be performed

   by any general purpose computer, but instead must be performed by a general purpose computer

   specially programmed with a particular algorithm.” Exh. F at ¶¶ 83, 87. To meet the

   definiteness requirements of 35 U.S.C. § 112, ¶ 2, the specification “must disclose an algorithm

   for performing the claimed-function.” Augme Techs., 755 F.3d at 1337. Such an algorithm,

   whether it be expressed in pseudocode, mathematical formulas, prose, flow charts, or any other

   form, does not appear anywhere in the specification of the ’677 patent. See generally Exh. A;

   see also Exh. F at ¶¶ 81, 83.

          GEMSA does not attempt to rebut the presumption that these claim elements are means-

   plus-function elements. Rather, it purportedly identifies structure, arguing that “GEMSA’s

   proposed structures are clearly linked or associated to the configuring function by the ’677 patent

   or its prosecution history,” while citing several sections from the specification, none of which

   ties the structure that GEMSA identifies to the recited function. Dkt. 169 at 28. Instead, the

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   identified passages merely discuss the focus of the ’677 patent--fast switching--without

   disclosing any algorithm.

    GEMSA                                               Summary of Citation
    Citation10
   4:33-55           Provides a general description. It mentions “modified use of the BIOS power
                     management standard” for Fast Switching. Does not disclose any algorithms.
   5:4-14            Discusses the “novel use of the power management (ACPI or APM or alike) [to]
                     support functions of the runtime (standard) OS and the BIOS.” Does not disclose
                     any algorithms.
   5:28-6:5          Discusses the objectives of the invention and lists its capabilities. Does not
                     disclose any algorithms.
   8:15-9:16         Passage discusses the function of the VTOC data structure. Does not disclose any
                     algorithms.
   6:39-57           Provides a general description of the claimed invention and mentions the “special
                     use of the prior art power management (‘PM’) support functions of the runtime
                     operating system and the basic input/output system (‘BIOS’).” It does not
                     disclose any algorithms.
   9:58-10:8         Defines the Super OS GUI and states that it “provides a selection means for
                     choosing one of the available operating systems and corresponding virtual
                     computer systems.” Does not disclose any algorithms for this choosing.
   Figure 9          “FIG. 9 illustrates a GUI with an option box for the user to Suspend or shutdown
                     the currently running Operating System.” 6:25-27. Does not disclose any
                     algorithms.
   Figure 12         “FIG. 12 is a flowchart depicting the Super OS Fast Suspend operation block
                     diagram.” 6:32-33. Does not disclose any algorithms.

             None of these passages describes an algorithm that performs the function of selecting a

   virtual computer system to become next operable. See Exh. B at 16:17-19, 16:43-44. Nor would

   a person of ordinary skill in the art have recognized a structure for performing the function. Exh.

   F at ¶ 86. These claim term are thus indefinite and claims 1 and 3 are invalid under 35 U.S.C.

   § 112, ¶ 2. Noah Sys., 675 F.3d at 1312.




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        All citations in this table are to Exhibit B.

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                  2.     Term 12: means for suspending the currently operational virtual
                         computer system in an active state

          Because this claim contains “means for” language, there is a presumption that 35 U.S.C.

   § 112, ¶ 6 applies. GEMSA does not attempt to rebut this presumption. As Defendants propose,

   the identified function is “suspending the currently operational virtual computer system in an

   active state.” Exh. D at 4. While the claims are silent as to an algorithm for achieving this

   function, the specification discloses a three-step algorithm that performs the claimed function.

   Exh. B at 16:20-21, 10:15-27. GEMSA has not identified any additional algorithms (its only

   citation is to the “677 Patent”: Dkt. 169 at 29, n.90), and its failure to meaningfully address why

   this term is not a means-plus-function term renders Defendants’ § 112, ¶ 6 construction

   unrebutted. GEMSA’s referenced “BIOS ACPI enhancements” may be a description of where

   the algorithm steps are performed, but does not in itself identify an algorithm (or even provide an

   indication of what these “enhancements” are that would provide the recited function of the

   claim).11 The Court should adopt Defendants’ proposal.

                  3.     Term 13: means for making the selected virtual computer system
                         operable into a running state

          This terms falls within 35 U.S.C. § 112, ¶ 6 because it contains the phrase “means for”

   and does not recite adequate structure to rebut the presumption that it is means-plus-function

   claiming. GEMSA does not attempt to rebut this presumption. As Defendants propose, the

   required function is “making the selected virtual computer system operable into a running state.”

   Exh. D at 5. Defendants’ construction recites the only algorithm disclosed in the ’677 patent for


   11
     GEMSA repeatedly recites “BIOS ACPI enhancements/solutions” in its proposed
   constructions for individual means-plus-function limitations without indicating what these
   “enhancements” actually are, or where they are disclosed within the ’677 patent. In each
   instance, they are insufficient to provide corresponding structure for a given means phrase.
   Default Proof, 412 F.3d at 1298.

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   accomplishing the recited function. Exh. B at 16:20-21, 10:31-44. GEMSA’s string citation

   neither discloses an algorithm, nor meaningfully addresses why its identification of “BIOS ACPI

   enhancements/solutions” recites an algorithm as required by Federal Circuit precedent. Thus, the

   Court should adopt Defendants’ proposal.

                  4.     Term 14: means for switching of the virtual computer systems using a
                         switch flag and BIOS ACPI solutions . . . power save suspend

          This term falls within 35 U.S.C. § 112, ¶ 6 because it contains the phrase “means for” and

   does not recite adequate structure to rebut the presumption that it constitutes means-plus-function

   claiming. GEMSA does not attempt to rebut this presumption. As Defendants propose, the

   function is “switching of the virtual computer systems using a switch flag and BIOS ACPI

   solutions, and without initialization of power-on self test (POST) in the BIOS, wherein the

   switch flag is a flag that is set up in storage to differentiate between suspend for fast switching

   and power save suspend.” Exh. D at 6. Defendants’ construction recites the only algorithm

   disclosed in the ’677 patent for accomplishing the recited function.        Exh. B at 12:15-41.

   GEMSA’s string citation neither discloses an algorithm, nor meaningfully addresses why its

   identification of “BIOS ACPI enhancements/solutions” recites an algorithm as required by

   Federal Circuit precedent. Thus, the Court should adopt Defendants’ proposal.

                  5.     Term 15: said computer system having an OS-independent storage
                         manager . . . and a plurality of operating systems and applications

          Defendants propose that this phrase means: “a firmware-level storage manager that

   enables dynamic manipulation of the master boot record and partition table such that each OS

   virtually runs in its native environment, without any changes, and is restricted and “believes” to

   be the entire computer storage.” Exh. D at 6. GEMSA argues it is not necessary to construe this

   phrase because it appears in the preamble, which it asserts “has not been shown to be limiting.”.

   Dkt. 169 at 20. GEMSA is incorrect. During prosecution, Applicant amended the preamble of

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   claim 1 of the ’677 patent to add the underlined language: “an OS-independent storage manager

   operating through a firmware level and a plurality of operating systems and applications.” Exh. I

   at 2. This amendment was made in response to the rejection of claim 1 as obvious. Exh. J at 7-

   8; see also Exh. K at 10 (arguing that the prior art does not teach OS-independent storage

   management of Applicant.”).        As such, the “an OS-independent storage manager” is an

   affirmative limitation, added for patentability purposes. Catalina Mktg. Intl., 289 F.3d at 807–

   11.

          GEMSA alternatively argues that, if this phrase is an affirmative limitation, it should be

   given its plain and ordinary meaning. GEMSA also objects to Defendants’ construction as

   “impermissibly incorporat[ing] limitations from embodiments.” Dkt. 169 at 20. First, GEMSA

   has done nothing to establish that this phrase had a plain and ordinary meaning in the art at the

   time of the alleged invention, or what this meaning was. Id. Second, Defendants’ proposed

   construction reflects the express definition Applicant gave to the phrase “OS-independent

   storage manager” during prosecution.

          During prosecution, Applicant defined “OS Independent Storage Management” to mean

   that “each OS virtually runs in its native environment, without any changes, and that it is

   restricted and ‘believes’ to be the entire computer storage (its cabinet).” Exh. K at 6 (set forth in

   “Definition Pertinent to Response” section) (emphasis original). Applicant also stated “[i]n an

   OS-Independent storage system environment, VTOC [virtual table of contents] and DTOC [disk

   table of contents] enable dynamic manipulation of the master boot record (MBR) and partition

   table for each OS as necessary.” Id. at 6-7.

          Defendants’ construction is not merely an embodiment, as GEMSA suggests. Rather, it

   is the express definition Applicant gave the phrase. As such, the Court should adopt Defendants’



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   proposal. Gillespie v. Dywidag Sys. Int’l, USA, 501 F.3d 1285, 1291 (Fed. Cir. 2007) (“The

   patentee is held to what he declares during the prosecution of his patent.”).

                  6.      Term 16: virtual table of contents

          The parties agree that “virtual table of contents” (“VTOC”) should be construed to be “a

   data structure maintained on secondary storage, but outside the primary file systems.” GEMSA

   asserts that the VTOC contains “all necessary information about the Virtual Personal Computer

   (‘Virtual PC’) environment of a physical computer.” Dkt. 169 at 20-21. Defendants contend

   that the VTOC contains “all necessary information about each virtual computer system(s) of the

   physical computer including storage information, partitions and file systems.” Exh. D at 6.

          GEMSA disagrees with Defendants’ use of “each virtual computer system(s),” arguing

   that the VTOC need only contain information relating to a single “Virtual Personal Computer

   (‘Virtual PC’) environment.” Dkt. 169 at 21. To the extent GEMSA uses “environment” to refer

   to a single virtual computer system, GEMSA is incorrect. GEMSA argues that its construction

   “follows the patentee’s expressed definition of this term,” citing the ’677 specification. Id. at 21

   n.75. However, GEMSA ignores the entirety of this portion of the specification, which further

   states that “the VTOC defines Cabinets (Virtual PC’s).” Exh. B at 7:28-29 (emphasis added);

   see also id. at Fig. 4 (illustrating multiple Virtual PCs in a VTOC).

          This description in the specification is consistent with the plain language of the claims, as

   well as the prosecution history. Claim 1 of the ’677 patent, for example, recites, “said storage

   manager having a virtual table of contents for organizing and accessing a plurality of partitions

   of relevant data and having a plurality of virtual computer systems.” Exh. B at 16:9-12

   (emphasis added). During prosecution, Applicant also stated that “[t]he VTOC defines cabinets,

   or virtual PC’s, wherein the cabinets are a set of partitions and file systems that are visible and

   available to a given operating system environment when that environment is actively executing

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   on the physical computer.” Exh. L at 2 (emphasis original). In sum, all intrinsic evidence

   requires that the VTOC contain information for each of the virtual computer systems configured

   on a given physical computer, and the Court should adopt Defendants’ proposal.12

                  7.     Term 17: virtual computer system[s]

          The parties’ proposed constructions for “virtual computer system[s]” are the same, with

   the exception of the following underlined language from Defendants’ proposal: “set of storage

   information, partitions and file systems that are visible and available to a given operating system

   environment, having a unique master boot record and its own partition table, when that

   environment is actively executing on the physical computer.” Exh. D at 7.

          Both GEMSA’s and Defendants’ proposals reflect the specification statement that “[a]

   Cabinet or Virtual PC is a set of partitions and file systems that are visible and available to a

   given operating system environment when that environment is actively executing on the physical

   computer.” Exh. B at 7:29-32. But Defendants’ proposal incorporates the definition Applicant

   offered during prosecution in distinguishing the prior art. Exh. K at 21. Specifically, Applicant

   argued that a virtual computer system of the claimed invention “owns its own unique master boot

   record (MBR) and partition table distinct from other virtual environments.” Id. Thus, Applicant

   further limited the “virtual computer system” beyond what is set forth in the specification. This

   additional limit cannot be ignored. Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570,

   1576 (Fed. Cir. 1995) (“The prosecution history limits the interpretation of claim terms so as to

   exclude any interpretation that was disclaimed during prosecution.”). The Court should adopt



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      Defendants’ proposed construction further requires that the “necessary information” include
   “storage information, partitions and file systems,” based on an express statement in the
   specification. Exh. B at 7:27-28. GEMSA does not dispute that the “necessary information”
   includes this information. Dkt. 169 at 20-21.

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   Defendants’ construction, which reflects both the specification and prosecution history.

                  8.      Term 18: suspend for fast switching/fast suspending

           Defendants propose that these terms mean: “making modified use of the BIOS power

   management standard to provide fast shutdown of an operating system to its suspended state by

   swapping out or remapping the current address space of the active program or OS without device

   power-down.” Exh. D at 7. GEMSA does not offer a construction for these terms. Instead, it

   argues that they do not require construction because Defendants have “not shown construction of

   these terms to be necessary to decide [a] specific and concrete infringement or invalidity

   dispute.” Dkt 169 at 23. GEMSA has not cited any authority for the proposition that, before

   obtaining a claim construction, the parties must identify how it will affect infringement or

   invalidity. It is incumbent on the Court to decide the scope of a claim term where, as here, there

   is a dispute between the parties concerning its appropriate construction. O2 Micro, 521 F.3d at

   1360-62. Nevertheless, Defendants submit that adoption of their construction will result in non-

   infringement of all asserted claims of the ’677 patent.          GEMSA also argues that terms

   “suspend[ing]” and “fast switching” are separately presented for construction and therefore no

   construction is required for these terms; GEMSA has offered no construction for those terms

   either, and therefore those terms do not assist in the present task.13 Dkt. 169 at 23, 26.

          According to the specification, the “Fast Suspend method makes modified use of the

   BIOS power management standard, providing fast shutdown of an operating system to its

   suspended or hibernated state.” Exh. B at 4:43-46. The specification further states that “[o]ne of

   the key features of this invention is the novel use of the power management (ACPI or APM or



   13
      These terms can be grouped together for efficiency in the claim construction process, although
   they are different terms that cannot be given an identical construction.

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   alike) support functions of the runtime (standard) OS and the BIOS to temporarily evict that OS

   from memory and switch to the next OS requested by the user.” Id. at 5:4-8 (emphasis added).

   During prosecution, Applicant contrasted “Hibernate”, which involves a power down, with “Fast

   Suspend,” which “means swapping out or remapping the current addressed space of the active

   program or OS, so no device power-down (power off or spin down) is required.” Exh. K at 6.

   The Court should adopt the Defendants’ construction.

                  9.     Term 19: fast switching

          GEMSA does not offer a construction for this term. Dkt. 169 at 26. The Court should

   construe this term, which is disputed. O2 Micro, 521 F.3d at 1360-62. Adoption of Defendants’

   proposed construction (“making modified use of the BIOS power management standard to fast

   suspend one operating system environment, followed by a fast resume of another operating

   system environment from a suspended state, without device power-down”) will also result in

   non-infringement of all asserted claims of the ’677 patent. Exh. D at 7.

          According to the specification, “Fast Switching” is “comprised of a Fast Resume method

   and a Fast Suspend method.” Exh. B at 4:33-35. As described above, the “Fast Suspend method

   makes modified use of the BIOS power management standard, providing fast shutdown of an

   operating system to its suspended or hibernated state.” Id. at 4:43-46. “Fast Resume” also

   makes modified use of the BIOS standard, allowing the user to “quickly transfer” to an operating

   system environment that is currently suspended, as an alternative to the “slow process” of

   starting with Power-On Self-Test and loading all operating system components via initialization

   programs.   Id. at 4:35-43.    The specification provides a list of steps performed for “OS

   Switching” via the suspend/resume procedures, and provides a more detailed algorithm for OS

   Switching. Id. at 10:1-55; 12:1-42. Although Defendants do not contend that the term “fast



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   switching itself must be limited to this specific algorithm14, the disclosed algorithm demonstrates

   that “fast switching” involves modified use of the BIOS standard to implement a fast suspend of

   one operating system followed by a fast resume of another operating system, without power

   down. The Court should adopt Defendants’ proposed construction.

                  10.    Term 20: power save suspend

          This term appears in claims 1, 3, and 6 of the ’677 patent, which recite a switch flag that

   differentiates between two alternatives: “suspend for fast switching” and “power save suspend.”

   Defendants propose that this term means: “the customary and systematic termination of all

   services that forces the closure of all open files and cached information, shutdown of all devices

   and drivers and system power off.” Exh. D at 7. “Suspend for fast switching” (i.e., “Fast

   Suspend”) is described as an “an alternative to the customary and systematic termination of all

   services that forces the closure of all open files and cached information, shutdown of all devices

   and drivers, and system power off.” Exh. B at 4:46-50. This alternative corresponds to the

   claimed “power save suspend,” which should therefore be construed to mean “the customary and

   systematic termination of all services that forces the closure of all open files and cached

   information, shutdown of all devices and drivers and system power off.”

          GEMSA’s argument that this term does not require construction should be rejected for

   the reasons described above, as the Court’s adoption of Defendants’ proposed construction

   would result in noninfringement. Alternatively, GEMSA argues that “power save suspend”

   should be given its plain and ordinary meaning, but fails to identify what that meaning is. The

   Court should adopt Defendants’ proposal, using the express disclosure of the ‘677 patent.


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      This is in contrast to the means-plus-function terms, discussed supra, where Applicant’s
   choice to use the phrase “means for” limits the functional claim limitations to the specific
   algorithms disclosed in the ’677 specification.

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                 11.     Term 21: BIOS ACPI solutions/enhancements

           “BIOS ACPI solutions” appears in claim 1 of the ’677 patent, and “BIOS ACPI

   enhancements” appears in claims 3 and 6. Defendants propose these terms be construed to mean

   “modifications made to standard BIOS ACPI power management software.” Exh. D at 7. This

   is consistent with the ’677 specification’s description of a “Standard BIOS” having one series of

   steps, and a “Super OS BIOS” having additional steps in excess of the series of steps associated

   with a “Standard BIOS” (i.e., “enhancements”). Exh. B at 11:27-62. It is also consistent with

   the prosecution history, where Applicant noted its “fast suspend and fast resume totally rely on

   applying BIOS ACPI enhancements,” and argued the cited prior art did not “teach how to fast

   suspend and fast resume by enhancing the ACPI standards and technology to prevent power

   down of devices.” Exh. K at 27. In other words, “BIOS ACPI enhancements” refers to additions

   made to Standard BIOS without which the functions of “Fast Suspend”/“Fast Resume” cannot be

   performed. See id. at 6 (“Only hardware equipped with ‘Flash Vos Super OS Flag and Bios

   enhancements’ can support Super OS and ‘VTOC-based OS independent storage management’

   to gain Fast Suspend/Fast Resume OS-Switching Capability.”); see also Dkt.169 at 28-30.

          GEMSA argues that these terms do not need to be construed because they only appear

   within a larger “means for switching” term that is being separately construed. Id. at 25. That is

   not correct. “BIOS ACPI enhancements” is not part of any other disputed phrase. With regard

   to “BIOS ACPI solutions,” it is proper to address its meaning even though it is part of a means-

   plus-function term. Lockheed Martin Corp. v. Space Sys./Loral, Inc., 324 F.3d 1308, 1319 (Fed.

   Cir. 2003) (“[We] construe the meaning of the words used to describe the claimed function,

   using ordinary principles of claim construction.”). GEMSA is also mistaken in arguing that

   these terms only appear in a preamble. Dkt. 169 at 25 (referencing “claim 28,” even though



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   there are only 7 claims in the ’677 patent). They only appear in individual limitations of claims

   1, 3, and 6—not in the preambles. GEMSA then argues that its “construction is consistent with

   the intrinsic evidence.” Id. Given that GEMSA has not even offered a construction, this

   assertion cannot be correct and the Court should construe the terms as Defendants’ propose.

                  12.     Term 22: power-on self-test (POST) in [the] BIOS

          This term appears in asserted claims 1, 3, and 6 of the ’677 patent. Defendants propose

   that this phrase means: “diagnostic test sequence performed by BIOS to determine if various

   system components are properly connected and operating and, if successful, pass control to the

   system’s bootstrap loader.” Exh. D at 8. GEMSA argues that this term does not require

   construction but, if construed, should be given its plain and ordinary meaning.        However,

   GEMSA again provides no indication of what that meaning is. Dkt. 169 at 25-26.

          The ’677 specification describes a computer “power on” operation as the “typical BIOS

   boot sequence Power-On Self-Test (‘POST’) check.” Exh. B at 13:26-28. It does not explain in

   detail what that check entails, other than to list a series of operations such as “Check Flags,”

   “Check Memory,” “Check Devices,” etc., which are themselves not further defined. See id. at

   11:6-11. However, the terms “power-on self test” and “self-test” had well-understood meanings

   in the art when the ’677 patent was filed.

          The Federal Circuit has recognized that technical dictionaries can help courts understand

   the way in which persons of ordinary skill use technical terms. Phillips, 415 F.3d at 1318. The

   Microsoft Computer Dictionary, published in 1999, defined “power-on self test” as “[a] set of

   routines stored in a computer’s read-only memory (ROM) that tests various system components

   such as RAM, the disk drives, and the keyboard to see if they are properly connected and

   operating.” Exh. H at 352. The Dictionary further described that, “[i]f the power-on self test is



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   successful, it passes control to the system’s bootstrap loader.” Id. The Dictionary also provided

   a definition for “self-test”: “[a] set of one or more diagnostic tests that a computer or peripheral

   device (such as a printer) performs on itself.” Id. at 402.

          The Court should adopt Defendants proposal, which reflects the well-understood

   meaning of the term to a person of skill in the art, and is consistent with the ’677 specification.

                  13.     Term 23: at least one cabinet for isolating each virtual computer
                          system

          This phrase appears in claim 6 of the ’677 patent. Defendants propose that this phrase

   mean: “at least one cabinet for physically separating each virtual computer system from any

   other virtual computer system.” Exh. D at 8. GEMSA argues that this phrase is not limiting

   because it appears in the preamble, and that Defendants have not demonstrated that construction

   is necessary to decide an infringement or invalidity dispute. Dkt. 169 at 27. GEMSA is wrong

   on both counts. During prosecution, Applicant added this phrase to the preamble of claim 6

   (which was claim 8 during prosecution) to overcome its rejection in view of three prior art

   references. Exh. I at 3, 5-6. Thus, it is limiting. Defendants also note that the Court’s adoption

   of their proposal would result in non-infringement.

          Defendants’ proposal is consistent with the Applicant’s description of “isolation” as

   constituting physical separation between different systems. Exh. B at 1:64-2:3. GEMSA does

   not offer a construction. The Court should adopt Defendants’ proposal.

          C.      Withdrawn Terms

                  1.      U.S. Patent No. 6,690,400

          Defendants hereby withdraw the following ’400 patent claim terms, which GEMSA

   asserts do not require construction: “computer system with a memory, a display and multiple

   operating systems,” as well as the assertion that the preamble of claim 28 is limiting, “operating



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   system[s],” “discrete operating system,” “database,” “a computer program product for use on a

   computer system . . . .” Defendants agree with GEMSA that in order to streamline the issues for

   the Court, these terms can be applied according to their plain and ordinary meaning, such that no

   explicit construction is required at this stage.

                    2.     U.S. Patent No. 7,356,677

           Defendants hereby withdraw the following ’677 patent claim terms, which GEMSA

   asserts do not require construction: “hardware platform,” “hibernate capable computer system,”

   “operating system[s],” “partitions of relevant data,” “dynamically configuring a plurality of

   partition tables,” “sequentially choosing,” “suspend[ing/ed],” “activating another virtual

   computer system of said virtual computer systems to a running state without rebooting and

   without initialization of power-on self test in BIOS.” Defendants agree with GEMSA that to

   streamline the issues for the Court, these terms can be applied according to their plain and

   ordnary meaning, such that no explicit construction is required at this stage. However, to the

   extent any of these terms are part of another claim term that Defendants maintain requires

   construction, the Court should construe them consistent with Defendants’ proposed construction

   for the other term or phrase.

   IV.     CONCLUSION

           For the foregoing reasons, Defendants request that the Court adopt their proposed

   constructions.




   Dated: October 13, 2016                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

   that all counsel of record who have appeared in this case are being served today with a copy of

   the foregoing via the Court's CM/ECF system.


   Date: October 13, 2016                              /s/ Bryan J. Sinclair
                                                       Brian J. Sinclair




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